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Attorneys for Plaintiff
DANIKA GOLDSTEIN


                        UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                PORTLAND DIVISION
DANIKA GOLDSTEIN, An Individual,                Case No.:
                                                COMPLAINT FOR DAMAGES
                               Plaintiffs,      FOR FAILURE TO HIRE IN
                                                VIOLATION OF TITLE VII [42
v.                                              U.S.C. § 2000e-2] AND ORS
                                                659A.030(1)(a)
NIKE, INC., A Corporation,                      JURY TRIAL REQUESTED

                             Defendant


       Plaintiff DANIKA GOLDSTEIN hereby alleges as follows:
                                        PARTIES
       1.     Plaintiff is, and at all times herein unless noted was, a senior project
manager for Coldwell Banker Richard Ellis Group ("CBRE"),
                                                (“CBRE”), a global real estate
services and investment firm that worked as a contractor in service to Defendant
NIKE, INC. ("NIKE").
           (“NIKE”). When NIKE had an opening for which Plaintiff was
eminently qualified, Plaintiff applied for the position.
       2.     Plaintiff also is, and at all times herein was, a practicing Jew who was
unable to be vaccinated against COVID-19 for religious reasons. Because NIKE
required all employees at its headquarters in Beaverton, Oregon, to be vaccinated
and Plaintiff was not vaccinated, NIKE refused to hire Plaintiff.
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       3.     Defendant NIKE is, and at all times herein was, a corporation
headquartered in Beaverton, Oregon, in the County of Washington. See Attached
Exhibit “A” [a true and accurate copy of NIKE's
Exhibit "A"                              NIKE’s proof of registration from the
Oregon Secretary
Oregon           of State’s
       Secretary of         website]. NIKE is, and at all times herein was, an
                    State's website].
employer within the definition of 42 U.S.C. § 2000e(b).
                                    JURISDICTION
       4.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       5.     This Court has jurisdiction over Defendant NIICE
                                                         NIKE pursuant to 28
U.S.C. § 1331 because Plaintiff’s
                      Plaintiff's action arises under the laws of the United States.
       6.     This Court has supplemental jurisdiction over the state law claim(s)
asserted herein pursuant to 28 U.S.C. § 1367(a) in that such claim(s) are related to
and form
and      part of
    form part    the same
              of the same case and controversy
                          case and             as Plaintiff’s
                                   controversy as Plaintiff's federal
                                                              federal claim(s).
                                                                      claim(s).
                                         VENUE
       7.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       8.     Venue is
              Venue is proper
                       proper in
                              in the
                                 the Court’s
                                     Court's Portland Division because
                                             Portland Division because Defendant
NIKE is headquartered in the County of Washington, the events giving rise to this
NIICE
Complaint occurred in County of Washington, and all agents, employees, or other
persons working for, or in concert with, NIKE with regard to the events giving rise
to this case are located in, employed in, and/or residents of County of Washington.
                             GENERAL ALLEGATIONS
       9.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       10.    The COVID-19 pandemic effectively began in the State of Oregon on
March 20, 2020. At that time, Plaintiff was working for Pro Unlimited.
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       11.    On March 28, 2021, Plaintiff was hired as a Senior Project Manager
for Brand Workplace Design & Connectivity with CBRE. Plaintiff remains
employed by CBRE to this day.
       12.                                                           –
              Throughout her tenure with both Pro Unlimited and CBRE —
                                                – Plaintiff worked in the offices
including the entirety of the COVID-19 pandemic —
   NIKE’s headquarters in Beaverton, Oregon, in the County of Washington.
at NIKE's
       13.    When the COVID-19 pandemic began in March 2020, NIKE sent
most of its employees and contractors home from its headquarters to work
remotely. That was not the case for Plaintiff, who was part of NIKE's
                                                               NIKE’s COVID
policy rollout team: Plaintiff was responsible for the installation of COVID-related
signage and workplace behavior messaging over the course of the ensuing year.
Plaintiff installed direction arrows on the floors of NIKE's
                                                      NIKE’s offices, plexiglass
screens to keep workers sitting in close proximity to one another from transmitting
or contracting COVID-19, and temperature-checking machines.
       14.    COVID-19 vaccines became available to the general public in Oregon
in late 2020 or early 2021.
       15.    Plaintiff, a practicing Jew, holds sincere religious beliefs that prohibit
her from taking potentially harmful substances into her body. See Attached
Exhibit “B” [a true and accurate copy of the first religious accommodation request
Exhibit "B"
that Plaintiff submitted to NIKE when seeking employment there]. Plaintiff
                        “[m]y G-d given body and mind are used to both connect to
sincerely believes that "[m]y
G-d but also to perform mitzvot" – that is, comply with commandments or
                        mitzvot” —
                       – "and
precepts of Jewish law — “and repair the world."
                                         world.” Id.
       16.              “mitzvot” that Plaintiff she believes she is required to
              Among the "mitzvot"
            “maintenance of the body in a healthy and sound condition in a God-
perform are "maintenance
chosen way"                        “from things which destroy the body"
       way” and distancing herself "from                          body” and
                    “in things which are helpful and life-imparting."
accustoming herself "in                                                   “B.”
                                                     life-imparting.” Ex. "B."
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       17.    Plaintiff believes, and at all times herein believed, that the three
                                                      – manufactured by Pfizer,
COVID-19 vaccines then available in the United States —
                               – were all potentially harmful. See Ex. "B."
Moderna, and Johnson & Johnson —                                       “B.”
                                                                “have known
Plaintiff was particularly concerned that the COVID-19 vaccines "have
risks [for] potential short and long-term harm"          “the damages produced,
                                          harm” and that "the
particularly at [t]he vascular level, are likely irreversible.”
                                                 irreversible." Id. (cleaned up).
       18.    CBRE, Plaintiff’s
                    Plaintiff's employer, generally required its employees to
receive COVID-19 vaccinations. However, CBRE was aware of Plaintiff’s
                                                          Plaintiff's
religious objections to COVID-19 vaccinations and allowed her to work in NIKE's
                                                                         NIKE’s
offices with a religious exception, as allowed under both Title VII and ORS
659A.030(1).
       19.    There came a point where NIKE knew that CBRE allowed Plaintiff to
        NIKE’s offices with a religious exception. At no point did NIKE ever ask
work at NIKE's
CBRE to ensure that any of its employees who worked in NIKE's
                                                       NIKE’s Beaverton
office, including Plaintiff, were vaccinated against COVID-19.
       20.                     NIKE’s offices, Plaintiff complied with the terms of
              While working at NIKE's
her religious exemption from CBRE's
                             CBRE’s vaccination requirement, including regular
COVID-19 testing, temperature checks, masking, social distancing, and weekly
registration of her badge to obtain entrance to NIKE's
                                                NIKE’s offices. Had NIKE hired
her, Plaintiff would have continued to submit to these requirements.
       21.    On September 29, 2021, NIKE announced its COVID-19 Vaccination
            “Vaccination Policy"
Policy (the "Vaccination                “Policy”). Pursuant to the Vaccination
                         Policy” or the "Policy").
Policy, to enter any of NIKE's
                        NIKE’s offices in the United States after December 1, 2021,
an employee had to provide verified proof of COVID-19 vaccination. Failure to
consistently comply with the Policy would result in termination of employment.
       22.    NIKE’s Vaccination Policy did allow then-current and potential
              NIKE's
employees to apply for religious and/or medical exceptions.
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       23.    In February 2022, Plaintiff applied for NIKE's
                                                      NIKE’s Workplace Studio
Creative Manager position, for which Plaintiff was qualified. In that role, Plaintiff
would have had to report to NIKE's
                            NIKE’s Beaverton office at least three times per week.
       24.    NIKE invited Plaintiff to interview for the Workplace Studio Creative
                                       “C” [a true and accurate copy of a
Manager position. See Attached Exhibit "C"
screenshot of an e-mail from NIKE inviting Plaintiff to move forward in the job
interview process].
       25.    During the interview process, Plaintiff informed NIKE of her
vaccination status as it related to her sincerely held religious beliefs. NIKE
responded by having Plaintiff submit a religious accommodation request form,
                                        “B.”
which she did on April 4, 2022. See Ex. "B."
       26.    Despite being aware of Plaintiff’s
                                     Plaintiff's vaccination status, NIKE still
offered Plaintiff the Workplace Creative Studio Manager position.
       27.    In her religious accommodation request, Plaintiff extensively quoted
                              – including the Torah, Judaism’s
Jewish texts and commentaries —                      Judaism's chief holy book
                       – explaining her beliefs concerning God’s
of scriptural commands —                                   God's commands to
                                           “B.”
keep her body from potential harm. See Ex. "B."
       28.    Among the Torah verses Plaintiff quoted was Shemot (Exodus) 20:1
                                                “You shall have no other gods
and Dvarim (Deuteronomy) 5:9, which both state, "You
besides Me.”     “B.” By this, Plaintiff meant that she is to obey God’s
        Me." Ex. "B."                                              God's
                                               – something she indicated later in
commands and not those of a potential employer —
                                                     “I am unable to allow an
her religious accommodation request when she stated, "I
external entity to decide the parameters of my relationship with G-d.”
                                                                 G-d." Id.
       29.    On April 19, 2022, NIKE sent Plaintiff an e-mail informing her that
                                                                          “D”
her religious accommodation request had been denied. See Attached Exhibit "D"
[a true and accurate copy of NIKE's
                             NIKE’s denial e-mail]. The e-mail informed Plaintiff
that if she did not provide to NIKE by 5 p.m. April 22, 2022, proof that she had

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received the first of two COVID-19 vaccination shots, NIKE would rescind its job
offer. Id.
       30.    Unable to receive a COVID-19 vaccine due to her sincerely held
religious convictions, Plaintiff did not receive a COVID-19 vaccination shot by the
April 22, 2022 deadline.
       31.    Even so, NIKE remained in touch with Plaintiff, seemingly still
                                                           “E” [a true and accurate
interested in adding her to its team. See Attached Exhibit "E"
copy of a series of text messages exchanged between Plaintiff and NIKE showing
that NIKE remained in communication with Plaintiff even after the April 22, 2022
deadline came and went].
       32.    On May 6, 2022, Plaintiff submitted to NIKE a second religious
accommodation request in the hopes of convincing NIKE to reconsider its stance
                                                        “F” [a true and accurate
on requiring her to be vaccinated. See Attached Exhibit "F"
copy of Plaintiff's
        Plaintiff’s second religious accommodation request].
       33.    In her second religious accommodation request, Plaintiff reaffirmed
the beliefs articulated in her first religious accommodation request, declaring that
“[f]aith in G-d and living actions in devotion and acknowledgement to G-d
"[f]aith
prevents me from injecting my body with the currently available covid (sic)
products as that would violate instruction from G-d and my religion based on the
formulation of the vaccine."         “F.” Plaintiff further stated that "I
                   vaccine.” See Ex. "F."                               “I fear the
eternal consequences of defying G-d and [not] safeguarding my body as
communicated within the halachic law to protect life."
                                                life.” Id. In addition, Plaintiff
        “I have already had the covid (sic) virus at least twice and G-d has restored
stated, "I
   health,” thereby indicating that she trusted in God, not COVID-19 vaccines, to
my health,"
protect her from COVID-19. Id.
       34.    On May 17, 2022, NIKE denied Plaintiff's
                                           Plaintiff’s second religious
                                            “G” [a true and accurate copy of
accommodation request. See Attached Exhibit "G"

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NIKE’s second denial e-mail]. NIKE also informed Plaintiff on that date that if
NIKE's
she did not provide to NIKE by 5 p.m. on May 19, 2022 proof that she had begun
the COVID-19 vaccination process, NIKE would rescind its job offer. Id.
       35.    Unable to receive a COVID-19 vaccine in accordance with her
sincerely held religious beliefs, Plaintiff did not begin the vaccination process.
       36.    Because Plaintiff did not begin the vaccination process by the May
19, 2022 deadline, NIKE rescinded its job offer to Plaintiff, ultimately offering the
job to someone else.
       37.    After NIKE rescinded its job offer, Plaintiff continued to work at
NIKE’s headquarters in Beaverton. In fact, Plaintiff was part of the team that re-
NIKE's
opened NIKE's
       NIKE’s campus for returning employees when NIKE brought its
employees back to campus in September 2022, when NIKE removed the COVID-
19 vaccination requirement for current and potential employees.
       38.    Still employed by CBRE, Plaintiff continues to work in the same
buildings on NIKE's
             NIKE’s Beaverton campus. Even after rescinding its job offer, NIKE
                                                              – a strong indicator that
never saw fit to have Plaintiff stop working in its buildings —
it would not have caused NIKE any undue hardship to allow Plaintiff to continue
working there as a NIKE employee rather than a contractor.
       39.    Plaintiff has suffered economic damages in the form of having her
career trajectory severely limited by NIKE.
       40.    Plaintiff has also suffered the following noneconomic damages
proximately caused by NIKE's
                      NIKE’s refusal to hire her:
              a. Loss of sleep
              b. Deep angst
              c. Humiliation from having been discriminated against, especially
                 having to relive the experience when asked about it by co-workers
              d. Mental and emotional distress from loss of career advancement

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       41.    As a condition of filing the herein lawsuit, Plaintiff has obtained a
right-to-sue letter from the Equal Employment Opportunity Commission. That
                                     “H.”
letter is attached hereto as Exhibit "H."
       42.    Attached hereto as Exhibit “I” is a printout from the website
                                 Exhibit "I"
TimeandDate.com showing when the 90-day statute of limitations set forth in each
right-to-sue letter is set to expire. Plaintiff included this printout to show that she
timely filed this lawsuit in compliance with the deadline set forth in her letter.
                          FIRST CAUSE OF ACTION:
                                – Failure to Hire/Accommodate Religion
         Violation of Title VII —
                            Against Defendant NIKE
                              [42 U.S.C. § 2000e-2]
       43.    Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       44.    Title VII of the 1964 Civil Rights Act prohibits employers from
refusing to hire applicants for employment on the basis of the applicants'
                                                               applicants’ religion.
42 U.S.C. § 2000e-2(a)(1).
       45.    For purposes
              For purposes of
                           of Title VII, "[t]he
                              Title VII, “[t]he term
                                                term ‘employer’ means aa person
                                                     'employer' means    person
engaged in an industry affecting commerce who has fifteen or more employees for
each working day in each of twenty or more calendar weeks in the current or
preceding calendar
preceding          year …”
          calendar year      42 U.S.C.
                        ..." 42 U.S.C. §§ 2000e(b).
                                          2000e(b).
       46.    Defendant NIKE qualifies as an employer under Title VII.
       47.    The term
              The term "religion,"
                       “religion,” for purposes of
                                   for purposes of Title VII, "includes
                                                   Title VII, “includes all aspects of
religious observance and practice, as well as belief …”   42 U.S.C.
                                                     ..." 42 U.S.C. §
                                                                    § 2000e(j).
                                                                      2000e(j).
       48.    Failing or refusing to hire a potential employee because of the
employee’s          “is synonymous with refusing to accommodate the religious
employee's religion "is
practice.” EEOC v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 772 fn. 2
practice."
(2015) (Abercrombie & Fitch).
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       49.    As a practicing Jew, Plaintiff belongs to a class of persons protected
under Title VII. 42 U.S.C. § 2000e-2(a)(1).
       50.    Plaintiff has a bona fide religious belief that she cannot defile her
                                                                “B” and "F."
body by taking into it potentially harmful substances. See Exs. "B"     “F.”
       51.    Plaintiff’s bona fide
              Plaintiff's bona      religious belief
                               fide religious belief conflicted with her
                                                     conflicted with her employment-
                                                                         employment-
                                                     “B” and "F."
related duty to receive a COVID-19 vaccine. See Exs. "B"     “F.”
       52.    Plaintiff informed her employer, Defendant NIKE, of the conflict
between her religious beliefs concerning and her employment-related duty to
receive a COVID-19 vaccine during the interview process for NIKE's
                                                            NIKE’s Workshop
                                           “B” and "F."
Studio Creative Manager position. See Exs. "B"     “F.”
       53.                   responded to
              Defendant NIKE responded to Plaintiff’s requests for a religious
                                          Plaintiff's requests
accommodation by refusing to hire her and demanding that she receive a COVID-
                                                                     “D” and "G."
19 vaccine under penalty of having her job offer rescinded. See Exs. "D"     “G.”
       54.                   made no
              Defendant NIKE made no attempt to accommodate
                                     attempt to accommodate Plaintiff’s
                                                            Plaintiff's
sincerely held religious beliefs, nor did NIKE assert to Plaintiff that NIKE would
incur undue hardship by accommodating her beliefs. NIKE simply punished
Plaintiff for refusing to receive a COVID-19 vaccine on religious grounds.
       55.    Defendant NIKE offered Plaintiff no religious accommodations even
though reasonable accommodations were available. Those accommodations
included regular COVID-19 testing, temperature checks, masking, social
distancing, and weekly registration of her badge to obtain entrance to NIKE's
                                                                       NIKE’s
        – the very conditions under which CBRE allowed Plaintiff to work in
offices —
NIKE’s buildings.
NIKE's
       56.    Defendant NIKE would have incurred no undue hardship by
accommodating Plaintiff’s
accommodating             religious beliefs,
              Plaintiff's religious beliefs, as she was
                                             as she was already working in
buildings on NIKE's
             NIKE’s buildings for CBRE and NIKE never demanded that Plaintiff
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                                NIKE’s Beaverton headquarters even after
no longer be allowed to work at NIKE's
declining to offer Plaintiff the Workplace Studio Creative Manager position.
       57.           toward Plaintiff's
              Animus toward Plaintiff’s sincerely held religious beliefs is truly what
motivated Defendant NIKE to fire Plaintiff, any assertion NIKE might make to the
contrary notwithstanding.
       58.    Based on the foregoing, Defendant NIKE has unlawfully
discriminated against Plaintiff in violation of Title VII.
                         SECOND CAUSE OF ACTION:
                              – Deprivation of Employment Opportunities
       Violation of Title VII —
                            Against Defendant NIKE
                               [42 U.S.C. § 2000e-2]
       59.    Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       60.    Title VII prohibits employers from limiting, segregating, or
            “applicants for employment in any way which would deprive or tend to
classifying "applicants
                       of employment opportunities or otherwise affect his status
deprive any individual of
                                individual's …
as an employee, because of such individual’s     religion.” 42 U.S.C. § 2000e-
                                             ... religion."
2(a)(2) (emphasis added). The Supreme Court has called the foregoing Title VII's
                                                                           VII’s
“disparate impact"
"disparate impact” provision. Abercrombie & Fitch Stores, Inc., 575 U
                                                                    U.S.
                                                                     .S. at 771.
       61.                                                          – to which her
              In refusing to hire Plaintiff because of her religion —
                                                              – Defendant
unvaccinated status concerning COVID-19 was inextricably tied —
NIKE deprived Plaintiff of a much-desired employment opportunity for which she
was qualified, thereby limiting Plaintiff’s
                                Plaintiff's ability to advance in her career.
       62.              NIKE’s practice of refusing to hire potential employees
              Defendant NIKE's
who were not vaccinated against COVID-19 caused a significant discriminatory
                                   – and including —
impact on potential employees like —               – Plaintiff, who were unable to
receive COVID-19 vaccines on religious grounds.
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       63.               NIKE’s practice of refusing to hire potential employees
               Defendant NIKE's
was not consistent with business necessity, as even after becoming aware of
Plaintiff’s
Plaintiff's unvaccinated status and religious beliefs through the interview process
for the Workplace Studio Creative Manager job, NIKE still allowed Plaintiff to
work on NIKE's
        NIKE’s Beaverton campus as an employee of CBRE.
       64.     Defendant NIKE could have adopted an available alternative practice
that would have had less disparate impact on religious practitioners and still served
                        – namely, allowing Plaintiff to continue submitting to
NIKE’s legitimate needs —
NIKE's
regular COVID-19 testing, temperature checks, masking, social distancing, and
weekly registration of her badge to obtain entrance to NIKE's         – the very
                                                       NIKE’s offices —
conditions under which CBRE allowed Plaintiff to work in NIKE's
                                                         NIKE’s buildings.
       65.     Defendant NIKE did not did not adopt an alternative practice that
would have had less disparate impact on religious practitioners, denying Plaintiff
employment twice instead.
       66.     Based on the foregoing, Defendant NIKE has unlawfully
discriminated against Plaintiff in violation of Title VII.
                            THIRD CAUSE OF ACTION:
             Violation of State Law Prohibiting Religious Discrimination
                               Against Defendant NIKE
                                 [ORS 659A.030(1)(a)]
       67.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       68.     Like Title VII, ORS 659A.030(1)(a) prohibits employers from
discharging individuals from employment on the basis of religion.
       69.     Because Oregon's
               Because Oregon’s state
                                state law
                                      law prohibiting
                                          prohibiting employers
                                                      employers from
                                                                from
discriminating on the basis of religion is modeled after Title VII, and because the
analysis for religious discrimination claims under both statutes is identical [see
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Hedum v. Starbucks Corp., 546 F. Supp. 2d 1017, 1022 (D. Or. 2008)], Plaintiff
declines to restate the facts as set forth in her first and second causes of action, as
those facts are already incorporated as though fully set forth herein.
       70.    Under 42 U.S.C. § 2000e-7, nothing in 42 U.S.C. § 1981a(b)(3),
which caps the amount of non-pecuniary and punitive damages that can be
awarded to
awarded to Plaintiff,
           Plaintiff, "shall
                      “shall be
                             be deemed
                                deemed to
                                       to exempt or relieve
                                          exempt or relieve any
                                                            any person
                                                                person from
                                                                       from
liability, duty, penalty, or punishment provided by any present or future law of any
State[.]”
State[.]" In
          In other words, an
             other words, an Oregon jury is
                             Oregon jury is free to exceed
                                            free to        any applicable
                                                    exceed any applicable federal
                                                                          federal
dollar limit in accordance with Oregon law.
       71.    Under Oregon law, a jury may award up to $500,000 in noneconomic
damages. See ORS 31.710(1). Oregon
             ORS 31.710(1). Oregon law
                                   law defines
                                       defines "noneconomic
                                               “noneconomic damages"
                                                            damages” to
                                                                     to
include "subjective,
include “subjective, nonmonetary
                     nonmonetary losses,
                                 losses, including
                                         including but
                                                   but not
                                                       not limited
                                                           limited to
                                                                   to …
                                                                      ... mental
suffering, emotional distress, …   inconvenience and
                               ... inconvenience     interference with
                                                 and interference with normal
                                                                       normal and
                                                                              and
usual activities
usual activities apart
                 apart from gainful employment.”
                       from gainful employment." ORS 31.705(2)(b)
                                                 ORS 31.705(2)(b)
       72.    As stated supra, Plaintiff has endured mental suffering and emotional
                       unlawful discrimination
                NIKE’s unlawful
distress due to NIKE's          discrimination against her.
                                               against her.
       73.    ORS 659A.885(3) allows for punitive damages against employers
such as Defendant NIKE who violate ORS 659A.030(1)(a). Oregon law places no
cap on punitive damages. See Smith v. Ethicon, Inc., 2022 U.S. Dist. 98543 at *2
(D. Or. June 2, 2022).
       74.    Based on the foregoing, in addition to violating Title VII, Defendant
NIKE has violated ORS 659A.030(1)(a).
                                PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment against Defendant NIKE as
follows:
                          ON ALL CAUSES OF ACTION:
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       1.     For economic damages in an amount according to proof at trial;
       2.     For non-economic damages in an amount according to proof at trial;
       3.     For punitive damages in an amount according to proof at trial;
       4.     For attorney's
              For attorney’s fees
                             fees and costs associated with bringing and maintaining
this action in accordance with the law; and
       5.     For such other and further relief as the Court may deem proper.


Dated: February 6, 2024                    PACIFIC JUSTICE INSTITUTE
                                           __/s/ RAY D. HACKE
                                             /s/ RAY    HACKE________
                                           Ray D. Hacke
                                           Attorney for Plaintiff
                                           DANIKA GOLDSTEIN




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EXHIBIT “A”
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                                          OREGON SECRETARY OF STATE

               HOME                       ► Corporation Division
                            Business Xpress           business name search             Oregon business guide
                      license directory       business registry/renewal        formsifees       notary public
                 uniform commercial code        uniform commercial code search               documents & data services

            Business Name
            BuslinGas      Search
                      Ramo &with
                                                                                                                         04-12-2023
                                                                                                                         04-12-2023
 New Search
 haitch               Printer Friendly
                      Printer Friendly            Business Entity
                                                  Business Entity Data
                                                                  Data                                                       12:17
                                                                                                                             12:17
              Entity
              Entity     Entity
                         Entity                                                                  Next
                                                                                                 Next Renewal
                                                                                                      Renewal Renewal Due?
 Registry
 Re fatty Nbr
          Nbr                                    Jurisdiction
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EXHIBIT “B”
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          Gmail                                                                                 Danika Duren Goldstein <danikaduren@gmail.com>



 Confirmation - Candidate COVID-19 Vaccination Accommodation Request
 1 message

 Smartsheet Forms <forms@smartsheetmail.nike.com>                                                                             Mon, Apr 4, 2022 at 8:04 PM
 To: danikaduren@gmail.com




                                          *)                       NIKE, Inc. Human Resources
       Thank you for submitting your entry. A copy is included below for your records.

       Please allow 7-10 business days for an HR Agent to contact you regarding your accommodation request.



       Candidate COVID-19 Vaccination Accommodation Request
        First Name            Danika
        Last Name             Duren Goldstein
        Email Address:        danikaduren@gmail.com
        Home Street
                              7738 SW 51st Ave
        Address
        City                  Portland
        State                 OR
        Zipcode               97219
        Phone Number          +1 (971) 570-9800
        Taleo Candidate
                              10158222
        Number
        Work State            Oregon
        What is
             is the
                the
        reason for your
                              Religious Accommodation - Vaccine
        accommodation
        request?
        Please identify
        the name of your      Judaism
        religion (if any):
        Please describe       I am requesting the religious exemption because injection from any of the Pfizer, Moderna or J&J COVID19
        your religious        products would go against my relationship with G-d and my religious beliefs.
        belief, practice or
        observance and        I have a religion including beliefs that help connect me with G-d and provide support, moral training, character
        how it conflicts      insight and reverence, along with a sense of belonging with the Creator. The beliefs are often informed and guided
        with being            by Judaic concepts. Those beliefs do not form a general argument against vaccination, but do form the basis of my
        vaccinated            objection to the injection from the Pfizer, Moderna or J&J products currently available for Covid-19.
        against COVID-
        19:                   The primary religious principles applicable to the request for accommodation have to do with maintaining and
                              protecting my body while taking caution in what I expose myself to that may do harm.

                              The below Jewish concepts as communicated by G-d through the prophets, Torah and subsequent commentary
                              make up a large foundation of my religious beliefs.
                                                                            beliefs. These beliefs
                                                                                           beliefs do
                                                                                                   do not make up the totality of complete direction
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                              of my religious beliefs but provide a significant foundation of my pathway towards my relationship with G-d.

                              A brief table of the religious concepts and their relationship to the Torah and my Judaic practice are listed below:

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                             Primary principle of maintaining, protecting your body and taking caution in what you expose yourself to that may
                             do harm.

                             Mishneh Torah, Human Dispositions 4:1
                             Seeing that the maintenance of the body in a healthy and sound condition is a God-chosen way, for, lo, it is
                             impossible that one should understand or know aught of the divine knowledge concerning the Creator when he is
                             sick, Maintenance of the body is important
                             Mishneh Torah, Human Dispositions 4:1
                             it is necessary for man to distance himself from things which destroy the body, and accustom himself in things
                             which are healthful and life-imparting. Distance yourself from things that may harm
                                                      De’ah 116:1
                             Shulchan Arukh, Yoreh De'ah
                             Exposed beverages were forbidden by the rabbis because they feared that snakes would have drunk from them,
                             and left behind venom. Caution in exposure that may do harm
                             Dvarim 4:9
                             Guard yourself and guard your soul
                                                              soul very much

                             Yalkut, Sifsei Chachomim Chumash, Metsudah Publications, 2009
                             Guard Yourself means look after your physical body. Guard against physical harm
                             Maimonides, Mishneh Torah, Hilchot Deot 4:1
                             Distance oneself from things that might damage one’s
                                                                               one's body, and accustom oneself to a healthy lifestyle Distance
                             yourself from things that may harm
                             Sefer HaChinuch, Mitzva 546, of putting a fence on one's
                                                                                  one’s roof
                             Sefer HaChinuch (Spain, 13th century), it is our responsibility to guard against natural occurrences which may
                             harm our bodies — – not only things that can end a person’s
                                                                                person's life but also things that can damage a person’s
                                                                                                                                person's body.
                             Distance yourself from things that may harm
                             Shemot 20:1 & Dvarim 5:6
                             You shall have no other gods beside Me.

                             Rashbam on Dvarim suggests that the prohibition is not intended to suggest that Jews would consider such man
                             made objects as being diving but rather they might be used as a form of establishing contact as opposed to a direct
                             route

                             Bereshit 32:29
                             Jacob wrestling with an angel

                             Shemot 7:1
                             See I place you in the role of God to Pharaoh..
                             Daat Zkenim
                             Pharaoh had determined himself to be god of the Nile.
                             Nothing should act as an intermediary between a direct connection with G-d and no angel or leader should stand in
                             the way of that direct connect either.
                             Proverbs 31:8-9
                             Speak up for those who cannot speak for themselves, for the rights of all who are destitute. Speak up and judge
                             fairly; defend the rights o the poor and needy.
        When did you
        first begin to
        embrace the
        religious belief,
                             02/28/1982
        practice or
        observance
        identified above
        (mm/dd/yyyy)
        Have you ever
        been immunized
        or vaccinated
        against any
        disease, virus,
        etc., including but
        not limited to the
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        Hepatitis B,
        Hepatitis
        Human
        Papillomavirus
        (HPV), Measles,
        Mumps, Rubella,

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        Shingles, or
        Varicella?
        If yes, please      I have a religion including beliefs that help connect me with G-d and provide support, moral training, character
        describe why        insight and reverence, along with a sense of belonging with the Creator. The beliefs are often informed and guided
        your religious      by Judaic concepts. Those beliefs do  do not form a general
                                                                                 general argument against vaccination, but do form the basis
                                                                                                                                          basis of
                                                                                                                                                of my
        belief, practice or
        belief, practice or objection  to the injection from the Pfizer, Moderna   or J&J products currently available for Covid-19.
        observance
        conflicts with      The primary religious principles applicable to the request for exemption have to do with maintaining and protection
        being vaccinated my body while taking caution in what I expose myself to that may do harm. In addition, I am obliged to guard myself
        against COVID-19, against harm. My G-d given body and mind are used to both connect to G-d but also to perform mitzvot and repair
        but did
             did not        the world.
        conflict with
        receiving other     The current covid vaccines have known risks, short and potential long term harm and several unknowns regarding
        immunizations or safety where more research is needed, and my personal risk and exposure level does not warrant harm as deemed
        vaccines.           by my spiritual practice. The damages produced, particularly at the vascular level are likely irreversible. I am unable
                            to allow an external entity to decide the parameters
                                                                       parameters of my relationship with G-d and to have someone else make
                            this significant decision for me. I am obliged, through sincere effort and review, to make this decision and not to
                            allow any entity to supersede my relationship as if to put themselves before my relationship with G-d. More
                            specifically the coercion applied to this medical treatment and supporting application of this coercion goes against
                            myself as an individual but also what I believe is ethical for a society as part of a core issue of right and wrong and
                            has significant downstream     implications which
                                             downstream implications           are consequentially
                                                                         which are                 morally objectionable.
                                                                                   consequentially morally  objectionable.

                              I am unable to allow an external entity to decide the parameters of my relationship with G-d and to have someone
                              else make this significant decision for me, I am obliged to through sincere effort and review make this decision and
                              not allow any entity to supersede my relationship with G-d and decide this significant decision for me. To make light
                              of that process would be to go against my religious principles that guide my connection to my creator.

                              Over the course of the pandemic, I have been working for Nike through a vendor relationship with a religious
                              accommodation in place, and have caused no extra hardship during that time. I have also been infected with covid-
                              19 at least once over that time, and have prior immunity through that exposure, which factor into my calculated risk
                              and further desire to do no harm.
                              It is my sincere hope that you will recognize and accommodate my religious beliefs
                                                                                                           beliefs and allow for an alternative. I
                              truly love my job, am a dedicated and hardworking employee and am willing to discuss creative alternatives to
                              create an alternative strategy that does not invoke injection by the aforementioned products, violating my religious
                              beliefs, nor create undue distress for myself or my employer.

                              Additional information regarding applicable research or religious practice is available upon request.
        Does the religious
        belief, practice or
        observe identified
        above allow you
        to comply with
        other COVID-19
        safety protocols, Yes
        including social
        distancing,
        wearing a face
        covering, and
        being tested for
        COVID-19?
        I further certify
        that above
        information to be
        true and accurate
        and I sincerely
        hold the religious
        belief, practice or
        observance
        described above.
        I also understand
        that falsification
        of this document
        and
        misrepresentation
        of my religious
        belief, practice or


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https://mail.google.com/mail/u/0/?ik=36f6744131&view=pt&search=...read-f%3A1729235914665007018&simpl=msg-f%3A1729235914665007018                Page 3
                                                                                                                                                Page   of 4
                                                                                                                                                     3 of 4
Gmail -- Confirmation
Gmail                    Case 3:24-cv-00250-AN
         Confirmation -- Candidate
                         Candidate COVID-19
                                   COVID-19 Vaccination                Document 1
                                                        Accommodation Request
                                            Vaccination Accommodation Request                    Filed 02/06/24   Page 23 of 46    2/5/23, 7:43 AM
                                                                                                                                   2/5/23, 7:43 AM


        observance may
        observance    may
        be considered
        be  considered aa
        violation of NIKE
        policy, including
        its Conduct
        its Conduct
        Standards, and
        Standards,   and
        result in
        corrective action,
        corrective  action,
        up to
        up  to and
               and
        including
        termination of
        employment.
        employment.



            Attachments
       File Attachments
                  Accommodation_4.22.pdf (99k)
             Nike Accommodation_4.22.pdf



                        Powered by Smartsheet Forms
                        © 2022 Smartsheet Inc. | Contact | Privacy Policy | User Agreement | Report Abuse/Spam




https://mail.google.com/mail/u/0/?ik=36f6744131&view=pt&search=…read-f%3A1729235914665007018&simpl=msg-f%3A1729235914665007018
https://mail.google.com/mail/u/0/?ik=36f6744131&view=pt&search=...read-f%3A1729235914665007018&simpl=msg-f%3A1729235914665007018       Page 4
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                                                                                                                                            4 of 4
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EXHIBIT “C”
EXHIBIT "C"
                                                                Case 3:24-cv-00250-AN           Document 1        Filed 02/06/24      Page 25 of 46
Request for Nike Workplace Creative Studio Manager interview

Human Resources <human_resources@invalidemail.com>                                                                                                                      Thu, Mar 24, 2022, 10:08 AM    *
Lo me




Dear Danika:


Thank you for the time you've put into applying to the Workplace Creative Studio Manager role. We invite you to move forward in the process and interview with the team! Our Coordination team has been informed anc
will contact you within the next three business days. If you don't hear from them within three business days, please follow up with me directly.


Best,
Bryan Hamilton
Talent Acquisition NIKE, Inc.


One attachment • Scanned by Gmail




        this message
                            V




Danika Duren Goldstein <danikaduren@gmail.com>                                                                                                                            Thu, Mar 24, 2022, 2:12 PM   *
  Bryan.Hamilton

Hi Bryan,

Thank you for this wonderful news! I couldn't be more excited to learn next steps.


Warmly,
Danika
Case 3:24-cv-00250-AN   Document 1   Filed 02/06/24   Page 26 of 46




EXHIBIT “D”
EXHIBIT "D"
                                      Case 3:24-cv-00250-AN         Document 1       Filed 02/06/24   Page 27 of 46
Denial of Religious Accommodation Request (COVID-19 Vaccination Policy)                                                                                  c23
        lnbox x



USAccommodations <US.Accommodations@nike.com>                                                                       Tue, Apr 19, 2022, 7:51 AM   *
to me

Dear Danika,

Nike, Inc. has reviewed your request for an exception to our COVID-19 Vaccination Policy as an accommodation of your religious belief. The information
provided by you did not establish you hold a religious belief, practice or observance that would prevent you from complying with the Policy's requirement
be fully vaccinated against COVID-19. For this reason we are denying your request for religious accommodation. I want to assure you that the informatior
you submitted was considered carefully and we did not make this decision lightly. This ends the review process for this request.

There is no appeal process for the denial of an accommodation request. You may apply again for an accommodation where you can identify your sincerE
held religious belief that is in conflict with the requirement to be vaccinated that was not expressed or otherwise included in your first request. Said
differently, it cannot be a restatement of your original request.

What Happens Now?

We ask you to comply with the COVID-19 Vaccination Policy in a timely manner by doing the following:

                  •   Before 5:00 PM PT on April 22, 2022, you must notify US.Accommodations@nike.com that you have received your first shot of an
                      approved COVID-19 vaccine. You must also enter your second shot (if applicable) by May 22, 2022.

If you do not take any of the above steps by April 22, 2022, your offer will be rescinded. Failure to timely enter your second shot (if applicable) will also
result in termination, with an effective date to be identified by NIKE in its sole discretion.

For any additional questions, please contact NIKE Accommodations at US.Accommodations@nike.com.

Sincerely,

Nike Accommodations
HR Total Rewards Operations

             A
NIKE, Inc. Human Resources

NIKE HR
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EXHIBIT “E”
EXHIBIT "E"
Screenshot_20230205-075531.png
Screenshot_20230205-075531.png                      Case 3:24-cv-00250-AN   Document 1   Filed 02/06/24   Page 29 of 46   2/5/23, 7:58 AM
                                                                                                                          2/5/23, 7:58 AM




   ,f   Bryan Nike TA             Dl          R.,    0,



                 Friday, Mar 11 • 10:18 AM


               Texting with Orton (SMS/MMS)



         Hey its Bryan with Nike TA, Looking
         to get 60 minutes for you with our
         hiring manager in the next week.
         Her calendar is packed but let me
         know what things look like for you!
  O

               How exciting!! Thank you for
               reaching out. Assuming it's Jennie
               I've pulled up her calendar and have
               the following times we overlap.
               Hope this is helpful and not
               presumptive. Her calendar is very
               busy!!

               Monday 3/1411-12
               Friday 3/1812p-3p
                                       Mar 11, 10:31AM • SMS


         Perfect! I'll get an invite sent over
         soon. Looks like Friday at 1pm will
  0      work best
         Mar 11,1026 AM


               Fantastic, many thanks and happy
               Friday!!


         Of course something just grabbed
         that time from Jennie! Any chance
         you can do 9am on Friday?
  O

                            Yes, let's do it! Thank you!


         Thank you!
  O

                  Friday Mar 11 • 2:02 PM


               Thanks for the great Friday news.
               I'm really looking forward to this.
               Have a great weekend and thanks
               again!


                 Monday, Apr 4 • 11:10 AM


         Hey! Wanted to connect when you
         can. My day is crazy busy but text
         me when you're available
  O

               Thank you and sorry to miss your
               call!


               I am just wrapping a call but should
               free up in the next ten minutes until
               12:30 if that works for you?


         Should work. Let me know when
  0,     you're on the call


                                                    I'm free!


                 Monday, Apr 4 •.20 PM


         Hey! I emailed you the
         accommodation request form to
         your Grnail
  O

               Many thanks! I will try to get that
               back to you by tomorrow as soon
               as possible and will confirm as
               soon as I complete it. Does that
               work for you?



  O      Works great!


               Thank you, I really appreciate all of
               your help!



  O      Absolutely! Happy to help


                 Monday, Apr 4 .8:07 PM


                          I have completed this step :)


                 Thursday, Apr 7 • 10:11 AM


         Hey! Just checking in with you.
         I'm expecting a note this week but
         haven't heard anything yet from the
         accommodation team.




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https://mail.google.com/mail/u/0/                                                                                             Page 1
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Screenshot_20230205-075754.png  Case 3:24-cv-00250-AN         Document 1   Filed 02/06/24   Page 30 of 46   2/5/23, 7:59 AM
                                                                                                            2/5/23, 7:59 AM



                  Monday, Apr 4 • 8:07 PM


                          I have completed this step )


                 Thursday, Apr 7 • 10:11 AM


          Hey! Just checking in with you.
          I'm expecting a note this week but
          haven't heard anything yet from the
          accommodation team.
  O

                Thank you, Bryan. I won't lie, it's a bit
                nerve wracking and I appreciate you
                checking in. Thank you!!


                  Tuesday, Apr 12 • 1:40 PM


               Hi Bryan, it's Danika regarding
               the Creative Studio Manager role.
               Hoping to not be a pest, but wanted
               to check in and keep expressing my
               interest.


                  Tuesday, Apr 12 • 3:25 PM


          Hey! I messaged the team again
          trying to get the accommodation
          reviewed. As soon as I get the
          decision we can move forward.
          The position is yours, just need
          to make sure they give us the
          accommodation
  O

                  Tuesday, Apr 12 • 6:50 PM


                                              Okay, thanks!


                  Friday, Apr 15 • 12:16 PM


               Hi Bryan, just checking in before the
               weekend. I'm guessing there are
               no updates but wanted to connect
               before everyone headed out for the
               holiday weekend.


                   Friday, Apr 15 • 1:49 PM


          I've called, text, and emailed
          because they told me they would let
          me know today. As soon as I hear
          I'll call you
  O

                                               Thank you!


                   Friday, Apr 15 • 4:48 PM


          I'm waiting to hear from the team.
          Hopefully they connect today still
  O

                Thanks Bryan. Friday at Nike seems
                like a fading hope )


          I just called him and he said the
          team will email you the results
          today but can't tell me directly due
          to hipaa.
  O




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https://mail.google.com/mail/u/0/                                                                               Page 1
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Screenshot_20230205-080000.png   Case 3:24-cv-00250-AN      Document 1   Filed 02/06/24   Page 31 of 46   2/5/23, 8:01 AM
                                                                                                          2/5/23, 8:01 AM



          I'll call you


                                               Thank you!


                    Friday, Apr 15 • 4:48 PM


          I'm waiting to hear from the team.
          Hopefully they connect today still
  O

                 Thanks Bryan. Friday at Nike seems
                 like a fading hope )


          I just called him and he said the
          team will email you the results
          today but can't tell me directly due
          to hipaa.


                Oohhhkay. So how would we
                handle an offer letter should they
                acknowledge my accommodation?
                If I get a denial will that impact my
                current accommodation?


          I'm trying to figure all that out right
          now. I'm guessing it just has to be
          shared with you first before I can be
          notified.
          I haven't encountered
          accommodation before so
          I'm learning as we go in all
          transparency.
          It shouldn't impact your current
          accommodation as that has been
          approved via CBRE already.
  O

                 I will send you a note when I receive
                 it to confirm. Thank you for all your
                 help, regardless how things move
                 forward.


                   Monday, Apr 18 • 9:55 AM


                Hi Bryan,
                I hope you had a good weekend.
                I have not received any
                correspondence. I assume I should
                be looking for something from
                Taleo?


          I'm guessing it comes from
          compliance rather than taleo. They
          said they sent you an email on
          Friday. They couldn't share with me
          the email due to hipaa though
  O

                 I haven't received anything - would it
                 go to my Gmail?


          I'm guessing whatever email you
          used to submit the accommodation
          request.
          You can email us
          .accommodations@nike.com to
          follow up. I wish I could access the
          results for you as that would make
          things a lot easier.
  O

                 All right, I followed up with the email
                 you recommended with my number



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https://mail.google.com/mail/u/0/                                                                             Page 1
                                                                                                              Page 1 of 1
                                                                                                                     of 1
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Screenshot_20230205-080148.png Case 3:24-cv-00250-AN      Document 1   Filed 02/06/24   Page 32 of 46   2/5/23,
                                                                                                        2/5/23, 8:02 AM
                                                                                                                8:02 AM



          the email aue to nipaa tnougn


                I haven't received anything - would it
                go to my Gmail?


          I'm guessing whatever email you
          used to submit the accommodation
          request.
          You can email us
          .accommodations@nike.com to
          follow up. I wish I could access the
          results for you as that would make
          things a lot easier.
  O

                All right, I followed up with the email
                you recommended with my number
                and hopefully will hear something.
                Should I make any extrapolations in
                absence of offer letter?


                Sorry to miss, I can call you back in
                about fifteen if that works?


          I'm the person that triggers the
          offer letter but I can't do that until I
          have word back. I think part of it is
          you telling them they can share the
          decision but again, this is the first
          time I'm working through this. I wish
          I knew more to help!
  O

                 Tuesday, Apr 19 • 10:02 AM


                just getting off a zoom, will call you
                right back


                Wednesday, Apr 20 • 4:29 PM


                Hello sir, just a heads up I shared
                my conundrum with Jenny and
                she is aware of everything. I'd
                like to begin the next phase with
                compliance. Do I just respond
                to the same email address as I
                recieved the denial of religious
                accommodation notice with my
                addenda?


                   Friday, May 6 • 2:55 PM


                Hello! My request has been
                resubmitted. Thank you!


                   Friday, May 6 • 4:49 PM


          Sounds good. I will ping the team.
          Have a good weekend!
  O

                                    Thank you, you too!


                 Thursday, May 12 • 11:02 AM


                Hello! I hope that you are staying
                dry out there. Just checking in
                before Friday. I haven't heard
                anything further. Thank you!


                 Monday, May 16 • 10:12 AM




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https://mail.google.com/mail/u/0/                                                                           Page 1
                                                                                                            Page 1 of 1
                                                                                                                   of 1
                           Case 3:24-cv-00250-AN
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                                                                                                                  2/5/23, 8:04 AM
                                                                                                                          8:04 AM



               Have a good weekend!


                                         Thank you, you too!


                      Thursday, May 12 • 11:02 AM


                     Hello! I hope that you are staying
                     dry out there. Just checking in
                     before Friday. I haven't heard
                     anything further. Thank you!


                      Monday, May 16 • 10:12 AM


                     Hi Bryan sorry to bug you but
                     wanted to check in and learn if you
                     would hear anything back from
                     compliance or if I'm just supposed
                     to be on the lookout for a smart
                     sheet notification such as last time?


               Hey! Never a bother. I've emailed
               them asking for an idea of when
               they will make a decision but
               haven't heard back yet. I assume
               they will communicate to you and
               rely on you to share the results with
               me


                     Thanks, I will let you know if I see
                     anything, of course.


                       Monday, May 23 • 11:51 AM


                     Hi Bryan. I'm under the impression
                     that Nike has recinded their offer.
                     Thank you for your help on this
                     endeavor and perhaps our paths
                     will cross again in the future. Thank
                     you!


               Well that's frustrating. Let's stay
               connected. I'll always be your
               advocate and happy to do what I
               can to help you.


                                                    Thank you.
                                           May 23, 12:16 PM • SMS



    0      k         Text message                     0      v0



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https://mail.google.com/mail/u/0/                                                                                     Page 1
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EXHIBIT “F”
EXHIBIT "F"
Gmail -- Confirmation
Gmail                     Case 3:24-cv-00250-AN
         Confirmation -- Candidate
                         Candidate COVID-19
                                   COVID-19 Vaccination               Document 1
                                                        Accommodation Request
                                            Vaccination Accommodation Request                Filed 02/06/24             Page 35 of 46                      2/5/23, 7:44 AM
                                                                                                                                                           2/5/23, 7:44 AM




          Gmail                                                                                          Danika Duren Goldstein <danikaduren@gmail.com>
                                                                                                         Danika



 Confirmation - Candidate COVID-19 Vaccination Accommodation Request
 1 message

 Smartsheet Forms
 Smartsheet  Forms <forms@smartsheetmail.nike.com>                                                                                          Fri, May 6, 2022 at 2:54 PM
 To: danikaduren@gmail.com
 To: danikaduren@gmail.com




                                             *)                         NIKE, Inc. Human Resources
                     submitting your
       Thank you for submitting your entry.
                                     entry. A
                                            A copy
                                              copy is
                                                   is included
                                                      included below for your
                                                               below for your records.
                                                                              records.

       Please allow
       Please allow 7-10
                    7-10 business
                         business days
                                  days for
                                       for an
                                           an HR
                                              HR Agent
                                                 Agent to
                                                       to contact
                                                          contact you
                                                                  you regarding
                                                                      regarding your
                                                                                your accommodation
                                                                                     accommodation request.
                                                                                                   request.



       Candidate COVID-19 Vaccination Accommodation Request
              Name
        First Name             Danika
        Last Name
        Last Name              Goldstein
              Address:
        Email Address:         danikaduren@gmail.com
        Home Street
        Home Street
                                    SW 51st
                               7738 SW 51st Ave
                                            Ave
        Address
        Address
        City
        City                   Portland
                               Portland
        State
        State                  OR
        Zipcode
        Zipcode                97219
              Number
        Phone Number           +1 (971) 570-9800
                                        570-9800
        Taleo Candidate
        Taleo Candidate
                               10158222
        Number
        Number
             State
        Work State             Oregon
        What is
        What is the
                the
        reason for
        reason for your
                               Religious Accommodation
                               Religious Accommodation -- Vaccine
                                                          Vaccine
        accommodation
        accommodation
        request?
        request?
        Please identify
        Please  identify
        the name
        the name ofof your
                      your     Judaism
        religion (if any):
        Please describe
        Please   describe      II am
                                  am requesting
                                      requesting religious
                                                 religious accommodation
                                                           accommodation fromfrom the
                                                                                  the currently available covid-19
                                                                                      currently available covid-19 products,  which violate
                                                                                                                    products, which violate my
                                                                                                                                            my
              religious
        your religious          relationship with
                                relationship with G-d,
                                                  G-d, conflict  with Avodat
                                                        conflict with Avodat HaShem,
                                                                             HaShem, and
                                                                                       and would
                                                                                           would be
                                                                                                  be disobedient   to the
                                                                                                      disobedient to  the word
                                                                                                                          word of
                                                                                                                               of G-d
                                                                                                                                  G-d within
                                                                                                                                      within my
                                                                                                                                             my spiritual
                                                                                                                                                spiritual
        belief, practice
        belief, practice or
                          or                      informed and
                                practice which is informed   and guided  by Jewish
                                                                  guided by  Jewish principals,
                                                                                    principals, concepts  and scriptures.
                                                                                                concepts and  scriptures.
        observance and
        observance    and
                conflicts
        how it conflicts       My practice
                               My  practice and
                                             and mymy relationship
                                                      relationship with   G-d is
                                                                    with G-d  is a
                                                                                 a fundamental
                                                                                   fundamental part      of my
                                                                                                   part of  my core being. Faith in G-d and living actions in
        with being             devotion and
                               devotion   and acknowledgement
                                                acknowledgement to  to G-d
                                                                       G-d prevents
                                                                            prevents meme from
                                                                                            from injecting
                                                                                                 injecting mymy body
                                                                                                                 body with   the currently
                                                                                                                       with the               available covid
                                                                                                                                  currently available    covid
        vaccinated
        vaccinated             products as
                               products   as that
                                              that would
                                                   would violate
                                                          violate instruction from G-d
                                                                  instruction from  G-d and
                                                                                          and my
                                                                                               my religion
                                                                                                   religion based
                                                                                                             based onon the
                                                                                                                         the formulation
                                                                                                                             formulation of of the vaccine. The
        against COVID-
        against                Torah tells
                               Torah  tells us
                                            us to
                                                to guard
                                                   guard ourselves   against harm
                                                         ourselves against    harm (Dvarim
                                                                                     (Dvarim 5:9
                                                                                               5:9 or
                                                                                                   or Deuteronomy
                                                                                                       Deuteronomy 5:9)      which is
                                                                                                                        5:9) which   is the
                                                                                                                                        the fundamental
                                                                                                                                             fundamental basis    of
                                                                                                                                                            basis of
        19:
        19:                    my accommodation
                               my  accommodation request,
                                                      request, and
                                                                and additionally
                                                                     additionally substantiated
                                                                                   substantiated by     spiritual guidance
                                                                                                    by spiritual  guidance from
                                                                                                                              from the
                                                                                                                                    the story
                                                                                                                                         story of
                                                                                                                                               of Gedaliah
                                                                                                                                                  Gedaliah and
                                                                                                                                                             and
                                                     HaChinuch. Maimonides
                               wisdom from Sefer HaChinuch.         Maimonides (Rambam/Rabbi
                                                                                  (Rambam/Rabbi Moses  Moses ben     Maimon) provides
                                                                                                                ben Maimon)      provides detailed
                                                                                                                                            detailed instruction
                                                                                                                                                      instruction on
                                                                                                                                                                  on
                               the rules
                               the rules for
                                          for maintenance
                                              maintenance of of our
                                                                our bodies  and minds,
                                                                    bodies and    minds, including
                                                                                           including rules
                                                                                                      rules for
                                                                                                             for sleep,
                                                                                                                 sleep, prayer,
                                                                                                                        prayer, sex,   food and drink in the
                                                                                                                                  sex, food
                               Mishneh Torah Human Dispositions 3 and 4 that inform my religious    religious observation
                                                                                                               observation andand reinforce
                                                                                                                                   reinforce mymy religious
                                                                                                                                                   religious conflict
                                                                                                                                                             conflict
                               with being
                               with         vaccinated against
                                    being vaccinated     against Covid
                                                                  Covid -19
                                                                         -19 by  the currently
                                                                             by the             available products.
                                                                                      currently available   products.

                               My faith
                               My  faith provides structure and
                                         provides structure  and dictates  attendance to
                                                                  dictates attendance  to rules
                                                                                          rules and
                                                                                                and responsibilities
                                                                                                    responsibilities of
                                                                                                                     of acting
                                                                                                                        acting within
                                                                                                                               within accordance
                                                                                                                                      accordance toto G-
                                                                                                                                                      G-
                               d’s edicts.
                               d's edicts. There
                                           There are
                                                  are dictates from G-d
                                                      dictates from  G-d that
                                                                          that prevent
                                                                               prevent my
                                                                                       my accepting
                                                                                           accepting injection
                                                                                                     injection of
                                                                                                               of the
                                                                                                                  the covid  vaccine as
                                                                                                                      covid vaccine   as II have
                                                                                                                                            have been
                                                                                                                                                 been

https://mail.google.com/mail/u/0/?ik=36f6744131&view=pt&search=…read-f%3A1732115498338066432&simpl=msg-f%3A1732115498338066432
https://mail.google.com/mail/u/0/?ik=36f6744131&view=pt&search=...read-f%3A1732115498338066432&simpl=msg-f%3A1732115498338066432                                Page 1
                                                                                                                                                                Page 1 of
                                                                                                                                                                       of 3
                                                                                                                                                                          3
Gmail -- Confirmation
Gmail                    Case 3:24-cv-00250-AN
         Confirmation -- Candidate
                         Candidate COVID-19
                                   COVID-19 Vaccination         Document 1
                                                        Accommodation Request
                                            Vaccination Accommodation Request        Filed 02/06/24          Page 36 of 46                  2/5/23, 7:44 AM
                                                                                                                                            2/5/23, 7:44 AM


                              instructed to defer
                                            defer such medical treatment within accordance of faith that G-d will love and protect me and keep me
                              from harm. There are innumerable examples of how this plays out in my practical and daily observance, such as
                              keeping Kashrut: observance of the dietary laws dictating what I put in my body and maintain my health, as
                              dictated by G-d. My faith of course extends beyond the topic of covid, and into the celebration of Holy days such as
                              the Jewish High Holidays, observance of Shabbat, maintaining Kosher dietary laws, educating my son at an
                              Orthodox Jewish school and teaching him Hebrew, engaging in the practice of bris in bringing my son into the
                              Jewish community among countless other examples of religious practice and observance.
        When did you
        first begin to
        embrace the
        religious belief,
                              02/28/1982
        practice or
        observance
        identified above
        (mm/dd/yyyy)
        (mm/dd/yyyy)
        Have you ever
        been immunized
        or vaccinated
        against any
        disease, virus,
        etc., including but
        not limited to the
        Flu, Hepatitis A, Yes
        Hepatitis B,
        Human
        Papillomavirus
        (HPV), Measles,
        Mumps, Rubella,
        Shingles, or
        Varicella?
        If yes, please
        describe why
        your religious
        belief, practice or I am not objecting to vaccines overall, but am objecting to the requirement of the current covid-19 products as they
        observance          lack the longevity of research of other vaccines, and that there are known hazards that must be weighed. For
        conflicts with      instance, there
                            instance,  there is
                                             is concern
                                                concern within
                                                        within the
                                                               the conservative
                                                                   conservative Jewish
                                                                                Jewish community    specific to
                                                                                        community specific   to reproductive
                                                                                                                reproductive health
                                                                                                                             health risks
                                                                                                                                    risks and
                                                                                                                                          and II fear
                                                                                                                                                 fear
        being vaccinated the eternal consequences of defying G-d and safeguarding my body as communicated within the Torah and
        against COVID-19, halachic law to protect life. This is but one example as fits with the table of practice with other concerns as relates
        but did not         to the covid vaccine. I have already had the covid virus at least twice and G-d has restored my health, Baruch
        conflict with       HaShem.
        receiving other
        immunizations or
        vaccines.
        Does the religious
        belief, practice or
        observe identified
        above allow you
        to comply with
        other COVID-19
        safety protocols, Yes
        including social
        distancing,
        wearing a face
        covering, and
        being tested for
        COVID-19?
        I further certify
        that above
        information to be
        true and accurate
        and II sincerely
        and
        hold the religious
        belief, practice or
        observance
        described above.

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                                                                                                                                                 Page   of 3
                                                                                                                                                      2 of 3
Gmail -- Confirmation
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         Confirmation -- Candidate
                         Candidate COVID-19
                                   COVID-19 Vaccination
                                            Vaccination Accommodation  Document 1
                                                        Accommodation Request
                                                                      Request                    Filed 02/06/24   Page 37 of 46     2/5/23, 7:44 AM
                                                                                                                                    2/5f23,


               understand
        I also troderstirod
        that falsification
        that falsification
        of this
        of this doctrnent
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        obwarvinco
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        violation of
        violation  of NIKE
        policy, inducing
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        its Conduct
        Standards, ord
        Winder*       and
        result in
        corrective action,
        corroctivo
               and
        up to oral
        including
        inducing
        termination of
        tertniretion
        employment.
        employment



            Attachments
       File Attachments
             Nike Religious
             Niw  Religious Accommodation
                            Accommodation Request.pdf
                                          Requestpe 0 (100k)
                                                        00k)


                        Powered by Smarteneat
                                   Smartsheet Forma
                                                Forms
                        © 2022 Smartsheet Inc. | Contact | Privacy Policy | User Agreement | Report Abuse/Spam




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                                                                                                                                        Page 3 of
                                                                                                                                               of 3
                                                                                                                                                  3
Case 3:24-cv-00250-AN   Document 1   Filed 02/06/24   Page 38 of 46




EXHIBIT “G”
EXHIBIT "G"
                                                Case 3:24-cv-00250-AN   Document 1   Filed 02/06/24   Page 39 of 46
Denial of 2nd Religious Accommodation Request (COVID-19 Vaccination Policy)
        Inbox x



USAccommodations <US.Accommodations@nike.com>                                                                         Tue, May 17, 2022, 1:55 PM   *
to me

Dear Danika,

Nike, Inc. has reviewed your second request for an exception to our COVID-19 Vaccination Policy as an accommodation of your religious belief. The
information provided by you did not establish you hold a religious belief, practice or observance that would prevent you from complying with the Policy's
requirement to be fully vaccinated against COVID-19. For this reason we are denying your request for religious accommodation. I want to assure you that
the information you submitted was considered carefully and we did not make this decision lightly. This ends the review process for this request.

What Happens Now?

We ask you to comply with the COVID-19 Vaccination Policy in a timely manner by doing one of the following:

    •    Before 5:00 PM PT on May 19, 2022, you must document your receipt of a first shot of an approved COVID-19 vaccine and provide a copy/image
         your vaccination card to US.Accommodation@nike.com. If you select this option, you must also enter your second shot (if applicable) by June 20,
         2022.

If you do not take any of the above steps by May 19, 2022, your offer will be rescinded. Failure to timely enter your second shot (if applicable) will also re:
in termination, with an effective date to be identified by NIKE in its sole discretion.

For any additional questions, please contact NIKE Accommodations at US.Accommodations@nike.com.

Sincerely,

NIKE HR
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EXHIBIT “H”
EXHIBIT "H"
                         Case 3:24-cv-00250-AN         Document 1         Filed 02/06/24        Page 41 of 46


  4.
       PX. EMP(0A.
                  4tc,
                         U.S. EQUAL EMPLOYMENT
                         U.S. EQUAL EMPLOYMENT OPPORTUNITY
                                               OPPORTUNITY COMMISSION
                                                           COMMISSION
cr                  2A                                                                                        Seattle Field   Office
v            .,                                                                                               Seattle   Field Office
                                                                                                       909
                                                                                                       909 First Avenue, Suite
                                                                                                           First Avenue,   Suite 400
                                                                                                                                 400
                                                                                                                 Seattle, WA 98104
                                                                                                                 Seattle, WA  98104
 45,                                                                                                                (206) 576-3000
                                                                                                                    (206)  576-3000
   411,/Ty
             co
                                                                                                         Website: www.eeoc.gov
                                                                                                         Website:    www.eeoc.gov


                                DETERMINATION AND
                                DETERMINATION           AND NOTICE
                                                             NOTICE OF OF RIGHTS
                                                                           RIGHTS
                                (This Notice
                                (This Notice replaces
                                             replaces EEOC
                                                      EEOC FORMS
                                                           FORMS 161, 161-A &
                                                                 161, 161-A & 161-B)
                                                                              161-B)

                                            Issued On:
                                            Issued On: 12/05/2023
                                                       12/05/2023
         To: Mrs. Danika  N. Goldstein
         To: Mrs. Danika N. Goldstein
             7738
             7738 SW   51st Ave
                   SW 51st  Ave SW  51st Ave
                                SW 51st  Ave
             Portland, OR
             Portland, OR 97219
                           97219
         Charge No:
         Charge No: 551-2023-01776
                    551-2023-01776
         EEOC Representative
         EEOC Representative and
                             and email:
                                 email:            Bryne Moore
                                                   Bryne  Moore
                                                   Investigator
                                                   Investigator
                                                   bryne.moore@eeoc.gov
                                                   bryne.moore@eeoc.gov


                                            DETERMINATION OF
                                            DETERMINATION OF CHARGE
                                                             CHARGE

         The   EEOC issues
         The EEOC      issues the
                                the following    determination: The
                                     following determination:           EEOC will
                                                                  The EEOC      will not
                                                                                     not proceed
                                                                                          proceed further   with its
                                                                                                    further with  its
         investigation   and makes
         investigation and    makes no no determination
                                            determination about
                                                           about whether
                                                                  whether further
                                                                            further investigation   would establish
                                                                                    investigation would    establish
         violations of
         violations of the
                        the statute.
                            statute. This
                                     This does   not mean
                                            does not mean the
                                                           the claims  have no
                                                               claims have  no merit.
                                                                                merit. This
                                                                                       This determination   does not
                                                                                            determination does   not
         certify that the
         certify that the respondent
                          respondent is  is in compliance with
                                            in compliance   with the
                                                                 the statutes.
                                                                     statutes. The  EEOC makes
                                                                               The EEOC     makes nono finding as to
                                                                                                       finding as  to
         the merits
         the merits of
                    of any
                        any other
                             other issues   that might
                                   issues that   might be
                                                       be construed  as having
                                                          construed as   having been
                                                                                 been raised
                                                                                       raised by
                                                                                              by this
                                                                                                 this charge.
                                                                                                      charge.

                                           NOTICE OF
                                           NOTICE OF YOUR
                                                     YOUR RIGHT
                                                          RIGHT TO
                                                                TO SUE
                                                                   SUE

         This
         This is  official notice
               is official  notice from     the EEOC
                                     from the     EEOC of    the dismissal
                                                         of the  dismissal of   your charge
                                                                            of your  charge and
                                                                                              and of
                                                                                                   of your
                                                                                                       your right   to sue.
                                                                                                             right to  sue. If
                                                                                                                            If
         you choose
         you  choose to to file
                           file aa lawsuit
                                   lawsuit against
                                             against the
                                                      the respondent(s)
                                                           respondent(s) onon this
                                                                               this charge
                                                                                    charge under
                                                                                            under federal     law in
                                                                                                    federal law    in federal
                                                                                                                      federal
         or state
         or state court,   your lawsuit
                   court, your     lawsuit mustmust be
                                                     be filed
                                                         filed WITHIN
                                                                WITHIN 90   90 DAYS
                                                                                DAYS of of your
                                                                                           your receipt     of this
                                                                                                   receipt of   this notice.
                                                                                                                      notice.
         Receipt generally
         Receipt                occurs on
                   generally occurs           the date
                                          on the   date that
                                                        that you
                                                              you (or
                                                                   (or your
                                                                       your representative)    view this
                                                                             representative) view     this document.
                                                                                                           document. You You
         should keep
         should   keep aa record
                           record ofof the
                                        the date
                                             date you
                                                   you received
                                                        received this
                                                                   this notice.  Your right
                                                                        notice. Your  right to
                                                                                             to sue
                                                                                                sue based
                                                                                                     based on    this charge
                                                                                                             on this   charge
         will be
         will be lost
                  lost if
                       if you
                          you do    not file
                                do not   file aa lawsuit in court
                                                 lawsuit in        within 90
                                                            court within   90 days.
                                                                              days. (The
                                                                                     (The time
                                                                                           time limit
                                                                                                 limit for
                                                                                                        for filing
                                                                                                            filing aa lawsuit
                                                                                                                      lawsuit
         based on
         based  on aa claim   under state
                      claim under      state law   may be
                                              law may   be different.)
                                                            different.)
         If you
         If you file
                file aa lawsuit based on
                        lawsuit based on this
                                         this charge, please sign-in
                                              charge, please sign-in to
                                                                     to the
                                                                        the EEOC
                                                                            EEOC Public
                                                                                 Public Portal
                                                                                        Portal and
                                                                                               and upload
                                                                                                   upload the
                                                                                                          the
         court
         court complaint
               complaint to to charge
                               charge 551-2023-01776.
                                      551-2023-01776.
                                                                On Behalf
                                                                On Behalf of the Commission:
                                                                          of the Commission:


         December 5,
         December 5, 2023
                     2023                                                                                  For
                                                                                                           For
         Date
         Date                                                          Elizabeth Cannon
                                                                       Elizabeth Cannon
                                                                       Director
                                                                       Director
         Cc:
         Cc:
         Nike, Inc.
         Nike, Inc.
         Alyson.Smith@nike.com
         Alyson.Smith@nike.com

         Ray Hacke
         Ray Hacke
          Case 3:24-cv-00250-AN               Document 1   Filed 02/06/24   Page 42 of 46


Rhacke@pji.org
Rhacke@pji.ora

Please retain
Please retain this
              this notice
                   notice for your records.
                          for your records.
            Case 3:24-cv-00250-AN                    Document 1   Filed 02/06/24   Page 43 of 46
Enclosure with
Enclosure with EEOC
               EEOC Notice
                    Notice of
                           of Closure and Rights
                              Closure and Rights (01/22)
                                                 (01/22)




                                IINFORMATION
                                  NFORMATION R ELATED TO
                                             RELATED     FILING S
                                                      TO FILING   UIT
                                                                SUIT
                              U       THE L
                               NDER THE
                              UNDER        AWS E
                                          LAWS   NFORCED BY THE EEOC
                                               ENFORCED         EEOC
 (This
 (This information
       information relates
                    relates to filing suit
                            tofiling  suit in Federal or
                                           in Federal  or State court under
                                                          State court         Federal law.
                                                                       under Federal   law. If
                                                                                            If you
                                                                                               you also
                                                                                                   also
plan to
plan    sue claiming
     to sue claiming violations   of State
                      violations of  State law,
                                            law, please
                                                 please be aware that
                                                        be aware   that time
                                                                        time limits may be
                                                                             limits may     shorter and
                                                                                         be shorter and
           other provisions
           other provisions of
                             of State
                                 State law   may be
                                       law may      different than
                                                 be different than those  described below.)
                                                                    those described  below.)

IIMPORTANT TIME LIMITS
  MPORTANT TIME LIMITS —
                       – 90
                         90 DAYS
                            DAYS TO FILE A LAWSUIT
                                           LAWSUIT
If you
If you choose
        choose toto file
                     file aa lawsuit
                             lawsuit against
                                      against the
                                              the respondent(s)
                                                   respondent(s) named
                                                                   named in in the
                                                                                the charge
                                                                                    charge ofof discrimination,
                                                                                                discrimination,
you must
you  must file
           file aa complaint
                   complaint in  in court within 90
                                    court within   90 days
                                                       days of
                                                             of the
                                                                the date
                                                                    date you
                                                                          you receive     this Notice.
                                                                                 receive this  Notice. Receipt
                                                                                                        Receipt
generally means
generally  means thethe date
                         date when
                               when you
                                     you (or
                                          (or your
                                              your representative)   opened this
                                                    representative) opened     this email  or mail.
                                                                                    email or  mail. You
                                                                                                    You should
                                                                                                         should
keep
keep a a record
         record of of the
                      the date
                            date you
                                   you received   this notice.
                                       received this            Once this
                                                        notice. Once  this 90-day     period has
                                                                            90-day period     has passed,
                                                                                                   passed, your
                                                                                                           your
right to sue based    on   the charge  referred to  in this Notice  will be  lost. If you  intend to
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult anconsult an
attorney, you
attorney,  you should
                should do do so
                              so promptly.
                                  promptly. Give
                                             Give your
                                                   your attorney
                                                         attorney aa copy
                                                                     copy of
                                                                           of this
                                                                                this Notice,
                                                                                     Notice, and
                                                                                              and the
                                                                                                  the record of
                                                                                                      record of
your receiving
your  receiving itit (email
                     (email or or envelope).
                                  envelope).
If your
If your lawsuit
         lawsuit includes
                  includes aa claim
                              claim under    the Equal
                                      under the         Pay Act
                                                  Equal Pay  Act (EPA),   you must
                                                                  (EPA), you   must file
                                                                                     file your
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court  within 22 years
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                           years for
                                  for willful
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                                                                 date you
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                                                                                not receive  equal pay.
                                                                                    receive equal  pay. This
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time limit
time  limit for
            for filing an EPA
                filing an  EPA lawsuit
                                 lawsuit is  separate from
                                          is separate from the
                                                            the 90-day   filing period
                                                                 90-day filing  period under
                                                                                        under Title
                                                                                               Title VII,
                                                                                                     VII, the
                                                                                                          the
ADA, GINA,
ADA,    GINA, the
                the ADEA,
                     ADEA, oror the
                                 the PWFA
                                      PWFA referred    to above.
                                              referred to above. Therefore,
                                                                  Therefore, if
                                                                              if you
                                                                                 you also
                                                                                      also plan
                                                                                           plan to
                                                                                                to sue
                                                                                                   sue under
                                                                                                       under
Title VII, the
Title VII, the ADA,
                ADA, GINA,
                        GINA, the
                                the ADEA
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                                                 the PWFA,
                                                     PWFA, inin addition
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                                                                          to suing
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                                                                                       the EPA   claim, your
                                                                                           EPA claim,   your
lawsuit must
lawsuit  must be
               be filed
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                         within 90   days of
                                 90 days  of this
                                              this Notice
                                                   Notice and
                                                          and within
                                                               within the
                                                                      the 2-
                                                                           2- or
                                                                              or 3-year
                                                                                 3-year EPA
                                                                                         EPA period.
                                                                                              period.

Your lawsuit
Your  lawsuit may
                may be be filed
                            filed in
                                   in U.S.
                                       U.S. District
                                             District Court
                                                       Court oror aa State  court of
                                                                     State court  of competent
                                                                                     competent jurisdiction.
                                                                                                  jurisdiction.
Whether   you   file  in  Federal    or State  court  is a matter   for you   to decide after
Whether you file in Federal or State court is a matter for you to decide after talking to     talking  to your
                                                                                                          your
attorney. You
attorney. You must
                 must file
                         file aa "complaint"
                                 "complaint" that
                                                that contains
                                                     contains aa short
                                                                  short statement
                                                                         statement of
                                                                                    of the
                                                                                       the facts
                                                                                           facts of
                                                                                                 of your
                                                                                                     your case
                                                                                                          case
which shows
which  shows that
               that you
                     you are
                           are entitled  to relief.
                                entitled to         Filing this
                                            relief. Filing this Notice
                                                                Notice is
                                                                        is not
                                                                           not enough.  For more
                                                                               enough. For  more information
                                                                                                  information
about filing
about filing aa lawsuit,
                lawsuit, go go to
                                to https://www.eeoc.gov/employees/lawsuit.cfm.
                                   https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
ATTORNEY REPRESENTATION
For information
For information about
                about locating
                      locating an
                               an attorney
                                  attorney to
                                           to represent
                                              represent you,
                                                        you, go
                                                             go to:
                                                                to:
https://www.eeoc.gov/employees/lawsuit.cfm.
https://www.eeoc.gov/employees/lawsuit.cfm.
In very limited
In very limited circumstances,
                circumstances, aa U.S.
                                  U.S. District
                                       District Court
                                                Court may
                                                      may appoint
                                                           appoint an
                                                                    an attorney
                                                                       attorney to
                                                                                to represent
                                                                                   represent individuals
                                                                                             individuals
who demonstrate
who                that they
     demonstrate that   they are
                             are financially unable to
                                 financially unable to afford
                                                       afford an
                                                              an attorney.
                                                                 attorney.

HOW TO
HOW    REQUEST YOUR
    TO REQUEST YOUR CHARGE F
                    CHARGE          90-DAY TIME
                            ILE AND 90-DAY
                           FILE            TIME LIMIT
                                                LIMIT FOR REQUESTS
                                                          REQUESTS
There   are two
There are   two ways
                ways to
                      to request
                         request aa charge
                                    charge file: 1) aa Freedom
                                           file: 1)    Freedom of
                                                                of Information
                                                                   Information Act
                                                                                 Act (FOIA)
                                                                                     (FOIA) request  or
                                                                                             request or
2) aa "Section
2)    “Section 83” request. You
               83" request. You maymay request
                                       request your
                                                 your charge
                                                       charge file under either
                                                              file under either or
                                                                                or both
                                                                                   both procedures.
                                                                                        procedures.
EEOC
EEOC can     generally respond
         can generally          to Section
                       respond to   Section 83
                                            83 requests   more promptly
                                                requests more   promptly than
                                                                          than FOIA
                                                                                FOIA requests.
                                                                                      requests.
Since
Since aa lawsuit must be
         lawsuit must be filed  within 90
                          filed within  90 days of this
                                           days of this notice, please submit
                                                        notice, please submit your
                                                                              your FOIA
                                                                                   FOIA and/or
                                                                                         and/or
Section
Section 83  request for
         83 request     the charge
                    for the  charge file
                                    file promptly
                                         promptly to
                                                   to allow
                                                      allow sufficient
                                                            sufficient time
                                                                       time for
                                                                            for EEOC to respond
                                                                                EEOC to         and
                                                                                        respond and
for your review.
for your  review.
To
To make
    make a a FOIA
             FOIA request   for your
                    request for your charge
                                      charge file,   submit your
                                               file, submit your request
                                                                  request online
                                                                          online at
                                                                                  at
https://eeoc.arkcase.com/foia/portal/login (this
https://eeoc.arkcase.com/foia/portal/login  (this is the preferred
                                                  is the preferred method).
                                                                    method). You
                                                                              You may
                                                                                    may also
                                                                                        also submit
                                                                                             submit aa
FOIA request
FOIA   request for
               for your
                   your charge
                        charge file by U.S.
                               file by U.S. Mail
                                            Mail byby submitting
                                                       submitting aa signed,
                                                                     signed, written
                                                                             written request
                                                                                     request
            Case 3:24-cv-00250-AN                    Document 1   Filed 02/06/24   Page 44 of 46
Enclosure with
Enclosure with EEOC
               EEOC Notice
                    Notice of
                           of Closure and Rights
                              Closure and Rights (01/22)
                                                 (01/22)



identifying your
identifying your request
                  request as
                          as aa "FOIA
                                “FOIA Request"
                                      Request” for
                                               for Charge
                                                   Charge Number
                                                          Number 551-2023-01776  to the
                                                                 551-2023-01776 to  the
District Director
District Director at
                  at Nancy
                     Nancy Sienko,  450 Golden
                            Sienko, 450         Gate Avenue
                                        Golden Gate  Avenue 55 West PO Box
                                                               West PO Box 36025
                                                                           36025
San Francisco, CA
San Francisco, CA 94102.
                  94102.
 To
 To make
     make aa Section
             Section 83
                     83 request for your
                        request for your charge
                                         charge file, submit aa signed
                                                file, submit    signed written
                                                                       written request
                                                                                request stating
                                                                                        stating it is
                                                                                                it is
aa "Section
   "Section 83 Request" for
            83 Request" for Charge
                            Charge Number
                                   Number 551-2023-01776
                                           551-2023-01776 to to the
                                                                 the District
                                                                     District Director
                                                                              Director at
                                                                                       at Nancy
                                                                                          Nancy
 Sienko, 450 Golden
 Sienko, 450  Golden Gate
                     Gate Avenue
                          Avenue 55 West
                                    West PO
                                          PO Box
                                             Box 36025
                                                  36025
San Francisco, CA
San Francisco, CA 94102.
                  94102.
You may
You  may request
          request the
                  the charge
                      charge file
                             file up
                                  up to
                                     to 90 days after
                                        90 days  after receiving
                                                       receiving this
                                                                  this Notice
                                                                       Notice of
                                                                              of Right
                                                                                 Right toto Sue. After
                                                                                            Sue. After
the 90
the    days have
    90 days have passed,
                  passed, you
                          you may
                              may request   the charge
                                    request the charge file   only if
                                                         file only if you
                                                                      you have
                                                                          have filed
                                                                               filed aa lawsuit
                                                                                        lawsuit in court
                                                                                                in court
and provide
and provide aa copy of the
               copy of the court
                           court complaint
                                 complaint to
                                            to EEOC.
                                               EEOC.
For more
For more information
          information on
                      on submitting
                         submitting FOIA
                                    FOIA requests,  go to
                                          requests, go to
https://www.eeoc.gov/eeoc/foia/index.cfm.
https://www.eeoc.govieeoc/foia/index.cfm.
For more
For more information
          information on
                      on submitted
                         submitted Section
                                   Section 83 requests, go
                                           83 requests, go to
                                                           to https://www.eeoc.gov/foia/section-
                                                              https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.
83-disclosure-information-charge-files.
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EXHIBIT “I”
EXHIBIT "I"
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Date Calculator: Add to or Subtract From a Date
Enter a
Enter a start
        start date and add
              date and add or
                           or subtract
                              subtract any
                                       any number
                                           number of
                                                  of days, months, or
                                                     days, months,    years.
                                                                   or years.



Count Days             Add Days               Workdays                  Add Workdays            Weekday                    №
                                                                                                                      Week Ng



     From Thursday,
     From Thursday, December
                    December 5, 2024
                             5, 2024
     Added 90 days


     Result: Wednesday, March 5, 2025

                                        Calendar showing
                                        Calendar showing period from December
                                                         period from December 5,
                                                                              5, 2024
                                                                                 2024 to
                                                                                      to March
                                                                                         March 5,
                                                                                               5, 2025
                                                                                                  2025
           December 2024                               January 2025                             February 2025                                   March 2025
                26 days
                26      added
                   days added                               31 days
                                                            31 days added
                                                                    added                           28 days
                                                                                                    28      added
                                                                                                       days added                               5 days
                                                                                                                                                5      added
                                                                                                                                                  days added
     Sun
     Sun   Mon Tue
           Mon Tue    Wed
                      Wed   Thu
                            Thu   Fri
                                  Fri   Sat
                                        Sat     Sun
                                                Sun   Mon
                                                      Mon    Tue
                                                             Tue   Wed Thu
                                                                   Wed Thu   Fri
                                                                             Fri   Sat
                                                                                   Sat   Sun
                                                                                         Sun   Mon Tue
                                                                                               Mon Tue    Wed
                                                                                                          Wed   Thu
                                                                                                                Thu   Fri
                                                                                                                      Fri   Sat
                                                                                                                            Sat     Sun
                                                                                                                                    Sun   Mon
                                                                                                                                          Mon    Tue   Wed Thu   Fri   Sat
                                                                                                                                                                       Sat

      1    2     31   4     5     6     7                          1     2   3     4                                         1                                         1
                                                                                                                                                                       1

      8
      8    9
           9     10
                 10   11
                      11    12 13
                            12 13 14             5
                                                 5    6      7     8     9   10 11       2     3     4    5     6     7      8       2    3      4     5    6    7     8
     15    16    17   18
                      18    19 20
                            19 20 21            12    13     14    15    16 17 18        9     10    11   12    13 14 15             9    10     11    12   13 14 15
     22    23    24   25    26 27 28            19
                                                19    20
                                                      20     21    22    23 24 25        16    17    18   19    20 21 22            16    17     18    19   20 21 22
     29    30    31                             26    27     28    29
                                                                   29    30 31
                                                                         30 31           23    24    25   26    27 28               23    24     25    26   27 28 29
                                                                                                                                    30
                                                                                                                                    30    31


      = Start date (Dec 5,
                        5, 2024)         = Final result date
                                                        date (Mar 5,
                                                                  5, 2025)



                                                                                                                                  Time & Date Calculator App
                                                                                                                                  for iOS
                                                                                                                                  See how
                                                                                                                                  See how long
                                                                                                                                           long remains
                                                                                                                                                remains before  a
                                                                                                                                                         before a
                                                                                                                                  deadline or exactly when those 30
                                                                                                                                  days are up.
